                Case:
ILND 450 (Rev. 10/13)    1:16-cv-11146
                      Judgment in a Civil Action   Document #: 40 Filed: 08/15/17 Page 1 of 1 PageID #:277

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

Steve Merritt,

Plaintiff(s),
                                                                    Case No. 16 C 11146
v.                                                                  Judge Virginia M. Kendall

Heller and Frisone, Ltd.,

Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s) Steve Merritt
                    and against defendant(s) Heller and Frisone, Ltd.
                    in the amount of $1,001.00 and reasonable attorney's fees and costs.

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
      Notice of Acceptance with Offer of Judgment by parties.


Date: 8/15/2017                                                  Thomas G. Bruton, Clerk of Court

                                                                 Lynn Kandziora, Deputy Clerk
